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               Exhibit “A”
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    IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE

                                              )
IN RE PROJECT VERTE, INC.                     ) C.A. No. 2022-0696-MTZ
                                              )
                                              )

             SUPPLEMENTAL CONSENT ORDER APPROVING
                   THE SALE OF PROJECT VERTE’S
           TECHNOLOGY ASSETS TO J&A TECH HOLDINGS LLC

      Upon due and further consideration of the Motion of Receiver (Don Beskrone)

for Entry of Order Approving the Engagement of Hilco Streambank to Market and

Sell Project Verte’s Technology Business and Related Assets (the “Motion”) (D.I.

64), the Geekplus Response filed in response thereto (D.I. 74), the Receiver’s reply

in support of the Motion (D.I. 80), the Receiver’s December 6 Report and

Supplement and all supporting papers filed in connection therewith (“December 6

Report and Supplement”) (D.I. 101), and the Receiver’s Second Supplement in

Support of Sale of Project Verte Inc.’s Technology Assets (D.I. 117) ;1 the Affidavits

of Service filed on November 10, 2022 (D.I. 73) and January 11, 2023 (D.I. 124);

upon Court proceedings held on November 29, 2022, December 7, 2022, and

January 19, 2023; and for good cause shown, the Court finds as follows:

      A.     The Motion was served upon the parties identified in exhibit B to the

Affidavits of Service. The Geekplus Response was the only objection or response


1
 Capitalized terms used but not otherwise defined herein shall have the meanings
ascribed to such terms in the Motion.
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received by the Court and no other informal objection or response was received by

the Receiver. The Geekplus Response has been resolved.

         B.     The engagement of Hilco Streambank to market and sell Project Verte’s

Technology Business and related assets (together, the “Technology Assets”), as

discussed and defined in the Motion, was approved by the Court’s order entered on

November 29, 2022 (the “Hilco Engagement Order”).2

         C.     The payment of the Engagement Fee under the terms and provisions of

the Hilco Agreement having been authorized and paid.

         D.     The Court has reviewed the December 6 Report and Supplement under

which the Receiver represents that he followed the provisions of paragraph 3 of the

Hilco Engagement Order.

         E.     The Receiver represents that the bidding and sale process (the “Sale

Process”) conducted for the Technology Assets was in accordance with the process

and procedures set forth in the December 6 Report and Supplement.

         F.     The auction of Project Verte’s Technology Assets scheduled for

November 30, 2022, was cancelled and the Receiver represents that only one

qualified bid was received for those assets and therefore no auction was necessary.

         G.     The sale of Project Verte’s Technology Assets is in the best interests of

the Company’s receivership estate.


2
    D.I. 85.
                                             2
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         H.     The Receiver having determined the sale of the Technology Assets to

J&A Tech Holdings LLC (“Buyer”) is fair and reasonable because it was the highest

and best offer received pursuant to the fair and reasonable Sale Process.

         I.     The Motion of Receiver (Don Beskrone) for Entry of An Order

Approving Settlement Term Sheet (AJ Group Creditors)3 having been withdrawn

without prejudice.

         IT IS HEREBY ORDERED THAT:

         1.    The Motion is further GRANTED, as set forth herein.

         2.    The sale to Buyer of the Technology Assets is approved under the terms

of the form of Bill of Sale attached hereto as Exhibit A.

         3.    The Buyer shall pay to Hilco Streambank the purchase price of $1.25

million (net of the $1.125 million deposit already paid by Buyer to Hilco Streambank

in connection with Buyer’s submission of its qualified bid) for the purchase of the

Technology Assets. In conjunction with a sale closing, Hilco Streambank shall

transfer the purchase price (including the currently held Deposit) to the Receivership

account designated by the Receiver, net of any Secured Party Transaction Fee and

any costs due Hilco Streambank under the terms of its approved Engagement

Agreement and Paragraph 6 hereof. Such net sale proceeds shall remain with the

Receiver subject to further order of this Court or another court of competent


3
    D.I. 77.
                                           3
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jurisdiction. Such net sale proceeds will be held and/or disbursed in accordance with

the provisions of the Receivership Order, Rule 152 of the Court of Chancery Rules,

and the terms and provisions of any further order of this Court or another court of

competent jurisdiction. Within thirty (30) days of entry of this Order, the Court shall

set a date for a status conference to discuss the final disposition (including a final

dismissal) of this receivership matter, including (as necessary) any disposition of net

sale proceeds received from the sale of the Technology Assets.

      4.     For the avoidance of doubt, none of the assets Geekplus claims an

ownership interest in shall be included as part of the sale of the Technology Assets.

All parties’ rights, claims, arguments, defenses, and remedies in connection

therewith are fully preserved and subject to later determination or agreement.

      5.     The AJ Group expressly consents to the sale of the Technology Assets

and expressly consents to the attachment of its liens, claims, and encumbrances (the

“Claims”) to the net proceeds of sale of the Technology Assets, with the same

validity, extent, and priority the AJ Group Claims had prior to such sale; provided

however that conditioned upon entry of this Order, the AJ Group shall not recover

any distribution from the sale proceeds of the Technology Assets that are the subject

of Paragraph 3 herein. For the avoidance of any doubt, entry of this Order is without

prejudice to any and all parties’ rights under that certain Amended and Restated

Intercreditor Agreement entered into as of June 18, 2019, by and among TNJ


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Holdings Inc., AC Group Holdings LLC, Chaluts Trust, JG Group Holdings LLC,

JGFT LLC, PGFT LLC and Project Verte Inc.4

         6.    In addition to payments to Hilco Streambank approved by Paragraph 1

of the Hilco Engagement Order and already paid to Hilco Streambank, Hilco

Streambank is authorized and approved to be compensated and reimbursed in

accordance with the terms of the Hilco Agreement and this Order, including out of

sale proceeds. Hilco Streambank is authorized to receive payment of its Secured

Party Transaction Fee and its costs due under the Hilco Engagement Agreement,

effective immediately upon a sale closing, including payment to be received from

Buyer’s deposit currently held by Hilco Streambank.

         7.    The Receiver is authorized and directed to take all actions necessary to

effectuate the sale and transfer of the Technology Assets to the successful purchaser,

including but not limited to negotiating, executing, and delivering such other and

further documents (including the final form of bill of sale attached hereto as Exhibit

A or assignment(s) of intellectual property assets) as may be deemed necessary or

appropriate to implement and consummate the transfer of the Technology Assets.

         8.    This Court retains jurisdiction to interpret, enforce, and implement the

terms and provisions of this Order.




4
    D.I. 101, Exhibit 5.
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SO ORDERED this 20th day of January, 2023.


                                     /s/ Morgan T. Zurn
                               Vice Chancellor Morgan T. Zurn




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                       Exhibit A
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                                       BILL OF SALE

        This Bill of Sale (the “Bill of Sale”) is made effective as of January [ ], 2023 (the
“Effective Date”) by and between Don Beskrone, Esq., solely in his capacity as the
receiver (“Receiver”) for, and on behalf of, Project Verte Inc., a Delaware corporation (the
“Seller”), in favor of J & A Tech Holdings LLC, as the purchaser, having a business address
at c/o S&H Equities, 98 Cuttermill Rd., Suite 390N, Great Neck, NY 11021 (“Purchaser,”
and together with Seller and the Receiver, the “Parties”).

       This Bill of Sale is intended to operate as and shall be deemed to constitute a Transfer
Statement (as that term is used and defined in Section 9-619 of the Uniform Commercial
Code).

       WHEREAS, by order August 25, 2022, the Delaware Court of Chancery entered an
order appointing the Receiver. (See Case No. 2022-0696-MTZ, D.I. 22);

        WHEREAS, Seller operates a software as a service (“SaaS”) business (the
“Technology Business”), including but not limited to unified commerce, order
management, integration management, warehouse management, and transportation
management services, and in connection therewith, Seller owns and utilizes certain assets
and agreements supporting the Technology Business, including, without limitation, certain
intellectual property (together with the Technology Business, the “Assets”). The Assets are
described in more detail on Schedule 1 attached hereto;

        WHEREAS, Seller (acting through the Receiver) engaged Hilco IP Services, LLC
d/b/a Hilco Streambank (the “Agent”) to market and solicit qualified bids for the sale of the
Assets;

        WHEREAS, November 28, 2022, was set as the deadline for the acceptance of
qualified bids for the Assets (the “Bid Deadline”);

        WHEREAS, Purchaser and other bidders executed non-disclosure agreements and
were provided access to a data room containing information about the Assets and also were
provided an opportunity to attend or view a webinar presentation concerning the Assets, all
so that they might independently evaluate and assess the value of the Assets;

        WHEREAS, qualified bids for the Assets were solicited from Purchaser and other
interested bidders. The only timely qualified bid for the Assets submitted by the Bid
Deadline was submitted by Purchaser;

       WHEREAS, because the only timely and qualified bid received for the Assets was
Purchaser’s bid in the amount of Eleven Million Two Hundred Fifty Thousand Dollars
($11,250,000.00) (the “Purchase Price** 1, no auction for the Assets was held on November

1
    **The Purchaser’s initial bid of $11,250,000 consisted of (i) a cash component of



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30, 2022. The bid submitted by Purchaser constituted the best and highest offer made for
the Assets, and therefore the Receiver on behalf of Seller and in consultation with the Agent
canceled any November 30 auction and determined that Purchaser was the successful bidder
for the Assets;

        WHEREAS, pursuant to applicable law and the Court of Chancery’s sale approval
order dated January [        ], 2023 [D.I. ----], the Receiver and Seller are authorized to sell,
transfer, and assign all of their rights, title and interest in the Assets to Purchaser pursuant
to this Bill of Sale and in consideration of the Purchase Price; and

       WHEREAS, Purchaser acknowledges that Seller and Receiver make no
representation or warranty regarding the exact value, quantity, or quality of the Assets listed;

        NOW, THEREFORE, in consideration of the Purchase Price and the foregoing
premises, which constitute good and valuable consideration, the receipt and sufficiency of
which are hereby acknowledged, Seller and Receiver do hereby grant, bargain, sell, assign,
transfer and convey unto Purchaser, its legal representatives, designees, successors and
assigns, all of Seller’s and Receiver’s rights, title and interests in and to the Assets, upon
and subject to the terms described herein.

      THE ASSETS ARE SOLD “AS IS” AND “WHERE IS” AND WITH ALL FAULTS,
AND SELLER AND RECEIVER MAKE NO REPRESENTATION OR WARRANTY
WHATSOEVER WITH RESPECT TO THE TRANSFERRED ASSETS, INCLUDING,
WITHOUT LIMITATION, ANY (a) WARRANTY OF MERCHANTABILITY; (b)
WARRANTY OF FITNESS FOR A PARTICULAR PURPOSE; (c) WARRANTY OF
TITLE; (d) WARRANTY AGAINST INFRINGEMENT OF INTELLECTUAL
PROPERTY RIGHTS OF A THIRD PARTY; OR (e) WARRANTY THAT THIS
TRANSFER COMPLIES WITH THE PROVISIONS OF THE UNIFORM COMMERCIAL
CODE; IN EACH CASE, WHETHER ANY SUCH REPRESENTATION WOULD ARISE
BY OPERATION OF LAW, COURSE OF DEALING, COURSE OF PERFORMANCE,
USAGE OF TRADE OR OTHERWISE. BY ACCEPTING THE ASSETS AND THIS BILL
OF SALE, PURCHASER ACKNOWLEDGES IT HAS NOT RELIED ON ANY
REPRESENTATION OR WARRANTY MADE BY THE RECEVIER, SELLER, OR ANY
OTHER PERSON ON EITHER’S BEHALF.

        This Bill of Sale shall inure to the benefit of and be enforceable by the Parties and
each of their respective successors and assigns. The Parties agree this Bill of Sale (together
with any separate reasonably requested and executed assignment of intellectual property
assets such as trademarks or patent applications), and any claims or disputes of any kind or


$1,250,00 (“Cash Component”) and (ii) a credit bid component of $10,000,000 (“Credit Bid
Component”). Because no other qualified bids for the Assets were received, the Purchaser’s
bid by its terms automatically converted to a cash bid of $1,250,000 to be paid by Purchaser
in cash at closing (which payment will include application of Purchaser’s Deposit held by
the Agent).


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nature whatsoever arising out of or in any way relating thereto, directly or indirectly, shall
be governed by and construed in accordance with the laws of the State of Delaware without
regard to any choice-of-law principles that would dictate the application of the laws of
another jurisdiction. The Parties further agree any dispute arising out of this Bill of Sale or
the transactions described herein shall be adjudicated before a state or federal court of
appropriate jurisdiction located in Wilmington, Delaware and the Parties hereto irrevocably
consent to the exclusive jurisdiction of such courts.

         This Bill of Sale, together with any separate executed assignment of intellectual
property assets, constitutes the entire agreement between the Parties as to the subject hereof;
it shall be construed and interpreted fairly, in accordance with the plain meaning of its terms;
and there shall be no drafting presumption or inference against any Party in construing or
interpreting the provisions hereof, as each Party acknowledges it has reviewed the contents
hereof with counsel of their choice prior to execution.

        This Agreement may be executed in counterparts, each of which shall be an original,
but which together shall constitute one and the same instrument. This Agreement may be
executed and delivered by email in .pdf format. Any electronic signatures delivered by email
shall have the same legal effect as manual signatures.

        Each person signing below represents and warrants they have full authority to sign
for and bind the respective signing party.




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IN WITNESS WHEREOF, this Bill of Sale has been duly executed by the undersigned as
an instrument under seal as of the date first above written.

                                  SELLER:

                                  PROJECT VERTE, INC.

                                  By:
                                  Name: Don A. Beskrone, Esq.
                                  Title: Court-Appointed Receiver for Project Verte, Inc.



                                  PURCHASER:

                                  J & A Tech Holdings LLC

                                  By:
                                  Name: Amir Chaluts
                                  Title: Authorized Signatory



WITNESS:


________________________________




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                                   Schedule of Assets


                                         Trademarks

          Mark                 Status                    USPTO Serial No./Reg. No.
         VERTE                 Notice of Allowance       SN 87954479
         MYVERTE               Pending                   SN 88724962
                               Registered Jan. 12,       RN 624810
                               2021



         TWOVERTE              Notice of Allowance       SN 88724963




                                   Patent Applications

Title                         Application No.                  Status
AN ENHANCED BLOCK-CHAIN       17/159988                        Published (USPTO Pub. No.
MASTER NODE COMPUTING                                          20210234666)
STACK
AN ENHANCED BLOCK-CHAIN       PCT/US2021/015275                Published (WIPO Pub. No.
MASTER NODE COMPUTING                                          WO/2021/154844)
STACK




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                             Technology Business Client Agreements

     •    PLATFORM LICENSE AGREEMENT, by and between [Customer 1] and Project Verte,
          Inc., dated as of April 21, 2021.
     •    VERTE SOFTWARE AS A SERVICE AGREEMENT, by and between [Customer 2] and
          Project Verte, Inc., dated as of August 22, 2022.
     •    VERTE SOFTWARE AS A SERVICE AGREEMENT, by and between [Customer 3] and
          Project Verte, Inc., dated as of October 28, 2022.
     •    SOFTWARE AS A SERVICE AGREEMENT, by and between [Customer 4] and Project
          Verte, Inc., dated as of August 10, 2021.
     •    VERTE SOFTWARE AS A SERVICE AGREEMENT, by and between [Customer 5] and
          Project Verte, Inc., dated as of March 31, 2022, and amended as of August 31,
          2022.
     •    PROFESSIONAL SERVICES AGREEMENT, by and between [Customer 6] and Project
          Verte, Inc., dated as of June 28, 2022.
     •    VERTE SOFTWARE AS A SERVICE AGREEMENT, by and between [Customer 7] and
          Project Verte, Inc., dated as of September 30, 2022.
     •    PILOT AGREEMENT, by and between [Customer 8] and Project Verte, Inc., dated as
          of September 14, 2022.
     •    VERTE SOFTWARE AS A SERVICE AGREEMENT, by and between [Customer 9] and
          Project Verte, dated as of September 6, 2022.
     •    SOFTWARE AS A SERVICE AGREEMENT, by and between [Customer 10] and Project
          Verte, dated as of February 7, 2022.
     •    VERTE SOFTWARE AS A SERVICE AGREEMENT, by and between [Customer 11] and
          Project Verte, Inc., dated as of April 15, 2022, and amended as of August 28, 2022.
     •    PROFESSIONAL SERVICES AGREEMENT, by and between [Customer 12] and Project
          Verte, Inc., dated as of May 17, 2022.
     •    VERTE SOFTWARE AS A SERVICE AGREEMENT, by and between [Customer 13] and
          Project Verte, Inc., dated as of October 3, 2022.
     •    VERTE SOFTWARE AS A SERVICE AGREEMENT, by and between [Customer 14] and
          Project Verte, Inc., dated as of November 4, 2022.
     •    Any other contracts and agreements that are (i) not listed above or otherwise on this
          Schedule of Assets and (ii) that arise from and are related to the Technology Business.




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                         Technology Business Consulting Agreements

     •    Intellectual Property Assignment Agreement by and between Project Verte Inc.,
          and API Services Ltd., dated as of May 14, 2020.
     •    Intellectual Property Assignment Agreement by and between Project Verte Inc.,
          and F1 Computing Solutions Ltd., dated as of May 14, 2020.
     •    Service Agreement dated as of January 1, 2020, by and between Project Verte Inc.
          and Project Verte (Israel) Ltd.

Excluded Assets:

For the avoidance of doubt, the following are excluded assets and shall not be part of the
Assets purchased by Purchaser pursuant to the Court’s sale approval order and this Bill of
Sale:

     •    Any cash or cash equivalents of Seller

     •    Any Seller bank accounts or Seller investment accounts

     •    Any Seller-owned real property

     •    Any Seller leases of non-residential real property and any Seller leases of personal
          property or equipment

     •    Any Seller contracts and rights and obligations thereunder, provided however, the
          above-identified Seller agreements with Technology Business clients and
          Technology Business Consulting Agreements are assigned and included as part of
          the purchased Assets

     •    Any Seller agreements with employees or independent contractors, provided
          however, the above-identified Technology Business Consulting Agreements are
          assigned and included as part of the purchased Assets

     •    Accounts Receivable and any proceeds relating thereto

     •    Any Seller tangible personal property, furniture, or equipment owned or otherwise
          used in operation of the Seller’s Fulfillment Business, including without limitation
          any tangible personal property or equipment claimed to be owned by Geekplus
          America [See Receivership, Case No. 2022-0696-MTZ, D.I. 37, 38, and 74 for a more
          complete description of the assets claimed to be owned by Geekplus]


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     •    Any computer software that is not owned by Seller, including any computer
          software owned by Geekplus that Seller uses in connection with operation of Seller’s
          Fulfillment Business

     •    Any permits or licenses used by Seller in operation of the Seller’s Fulfillment
          Business or any other business not the Technology Business

     •    Any stock or other equity interests owned by Seller in either an affiliate of Seller or
          in any third-party entity, including without limitation Flowerdale LLC

     •    Any claims or causes of action Seller has against any third party, provided however,
          any claims or causes of action arising post-closing under any above-identified Seller
          agreements are assigned as part of the purchased Assets

     •    Any Seller insurance policies and any rights or claims of Seller thereunder, including
          any Seller rights to insurance policy proceeds

     •    Any Seller federal or state tax refunds, any Seller tax credits, or any tax attributes
          possessed or otherwise controlled by Seller

     •    Any Seller security deposits, advances, retainers, or prepaid expenses, and any
          rights or claims of Seller associated therewith




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